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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



ROY COCKRUM,                ET AL .,


                                       Plaintiffs,
                             v.                                      Case No. 1:17-cv-1370-ESH

DONALD J. TRUMP FOR PRESIDENT, INC.
ET AL .,


                                       Defendants.



                        DEFENDANT ROGER STONE’S MOTION
                TO BRING ELECTRONIC EQUIPMENT IN THE COURTROOM


           Defendant ROGER STONE requests this Court allow electronic computer equipment

(including cell phones and iPads for attorneys) in this case for the May 17, 2018 hearing.

           The District Court’s website regarding Cell phones, Laptops, and Other Electronics

provides Members of the Bar can bring these devices into the courthouse, but limits it to

members of the Court of Appeals, District court or D.C. Bar.1 Below counsel has been admitted

in this case pro hac vice. We respectfully request that this Court issue an Order specifying that

counsel can bring in electronic devices into the courthouse.

L. Peter Farkas                                            Robert C. Buschel**
(DDC Bar No. 52944)                                          Counsel of Record
HALLORAN FARKAS & KITTILA, LLP                             (FL Bar No. 0063436)
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1
    http://www.dcd.uscourts.gov/cellphones-laptops-and-other-electronics
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                                      Counsel for Roger Stone
                                     (** appearing Pro Hac Vice)

                                CERTIFICATE OF SERVICE

         I certify that on May 15, 2018, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will send a notice of electronic filing to all registered parties.


Dated:    May 15, 2018                           /s/ Robert C. Buschel

                                                 Robert C. Buschel

                                                 Counsel for Roger Stone




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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


ROY COCKRUM, ET AL.,

                          Plaintiffs,
                   v.                             Case No. 1:17-cv-1370-ESH

DONALD J. TRUMP FOR PRESIDENT, INC.
ET AL.,


                          Defendants.


                                        ORDER

  It is ordered that Robert C. Buschel and Grant Smith be granted leave to bring

cell phones, laptops, and other electronics into the courtroom on May 18, 2018.



Dated: ___
                                           The Hon. Ellen Segal Huvelle
                                           United States District Court Judge
